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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT TACOMA

10
      UNITED STATES OF AMERICA,
11
                     Plaintiff,                                  Case No. CR02-5823RJB
12
              v.
13                                                               PROCEDURAL ORDER AND
      ROBERT ARMSTRONG and                                       ORDER DENYING MOTION FOR
14    RODOLFO VELAZQUEZ,                                         ORDER OF TRANSPORT
15                   Defendants.
16
            This matter comes before the court sua sponte and on defendant Armstrong’s Motion for
17
     Order of Transport. The court is familiar with the records and files herein and with the letters
18
     addressing procedure from Assistant United States Attorney Helen Brunner dated 4 August 2005,
19
     and from Federal Public Defender Tom Hillier dated 1 September 2005.
20
            This case comes before the court for consideration of resentencing pursuant to the remand of
21
     the Ninth Circuit Court of Appeals and United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005). A
22
     clarifying procedural order should now be entered.
23
            In accord with Ameline, each party may file a pleading addressing the sole question of
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     whether the sentence imposed would have been materially different had the district court known that
25
     the sentencing guidelines were only advisory. The court is mindful that the burden of proof is on the
26

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 1   defendant to prove the positive of the stated proposition, and the court assumes that the burden is by

 2   a preponderance of the evidence. Counsel should be mindful that the question at this point is not

 3   whether the defendant should have received a different sentence. Those questions may be addressed

 4   if a resentencing is ordered.

 5          On review of the aforementioned pleadings, the presentence investigations, and transcripts of

 6   the sentencing, (if available), the court will either grant resentencing, deny resentencing, or order oral

 7   argument or an evidentiary hearing, on whether there should be a resentencing.

 8          In accord with the previous orders of the court, such pleadings should be filed not later than

 9   23 September 2005. While it remains to be seen whether oral argument will be granted, the time

10   now scheduled for oral argument, 7 October 2005 at 9:30 a.m., will be reserved for that purpose,

11   should oral argument be ordered.

12          The threshold question referred to above does not require the defendant’s presence at this

13   time, and defendant Armstrong’s Motion for Order of Transport (Dkt. 1015) should be DENIED

14   without prejudice. The question of the presence of defendants in this district may be raised after the

15   court’s initial ruling as described above.

16          IT IS SO ORDERED.

17          The Clerk of the Court is instructed to send uncertified copies of this Order to all counsel of

18   record and to any party appearing pro se at said party’s last known address.

19          DATED this 12th day of September, 2005.

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22
                                                    A
                                                    Robert J. Bryan
                                                    United States District Judge
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     PROCEDURAL ORDER AND ORDER DENYING MOTION FOR ORDER OF TRANSPORT - 2
